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Noble Rey Brewing Company, LLC
INCOME AND EXPENSES
January - November, 2018
TOTAL
Income
Retail Brewery Taproom Sales 177,443.91
Retail Farmers Market Sales 179,305.52
Services / Events 37,429.27
Unapplied Cash Payment Income 10,931.26
Uncategorized Income 4,678.32
Wholesale Beer Sales 658,598.66
Total Income - $1,068,386.94
Cost of Goods Sold
Cost of Goods Sold 291,918.33
Supplies & Materials - COGS 8,407.38
Total Cost of Goods Sold $300,325.71
GROSS PROFIT $768,061.23
Expenses
Advertising/Promotional 20,424.18
Auto 2,204.55
Bank Charges 1,752.41
Catering 850.00
Charitable Contributions 50.00
Cleaning Services 1,253.43
Commission 549.36
Consulting 2,665.50
Credit Card Processing Fees 70.30
Donation 1,221.50
Dues & Subscriptions 3,661.29
Equipment Rental 18,368.33
Festivals 708.38
Insurance 42,063.76
Legal & Professional Fees 9,974.54
Live Music 10,393.58
Loan Originating Fees 8,033.33
Meals and Entertainment 6,410.99
Merchant Fees Expense 1,604.21
Miscellaneous Expense 1,103.15
Office Expense 4,028.10
Office Supplies 2,463.51
Office/General Administrative Expenses 9,121.23
Payroll Expenses 481,729.70
Payroll Processing Fees 13,241.03
Permits 1,557.26
Pest Control 1,342.27
Postage Expense 198.42
Property Tax Expense 4,766.40
QuickBooks Payments Fees 30.85

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TOTAL
Rent 96,504.85
Repairs and Maintenance 9,767.88
Software Expense 1,839.54
Supplies & Materials 17,705.97
Taxes Paid 31,366.94
Travel Expense 7,592.04
Uniforms Expense 1,139.64
Utilities 27,947.09
Website Expense 1,635.42
Total Expenses $847,340.93
NET OPERATING INCOME - $-79,279.70
Other Income
Cash Rebate 708.25
Other Miscellaneous Income 191.45
Total Otherincome $899.70
Other Expenses
Gain (Loss) on Disposition of FA -76,546.22
Interest Expense 141,533.96
Total Other Expenses $64,987.74
NET OTHER INCOME $ -64,088.04
‘NETINCOME - $ -143,367.74

 

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